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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  NAACP LEGAL DEFENSE &
  EDUCATIONAL FUND, INC.,
          Plaintiff,
                  v.                                           Civil Action No. 20-1132 (JDB)
  WILLIAM P. BARR, in his official capacity
  as Attorney General of the United States,
  et al.,
          Defendants.



                                               ORDER

        The Court previously determined that the Presidential Commission on Law Enforcement

and the Administration of Justice (“Commission”) is subject to the Federal Advisory Committee

Act (“FACA”) and entered summary judgment in favor of plaintiff on several of the claims in the

complaint. See NAACP Legal Def. & Educ. Fund, Inc. v. Barr, 2020 WL 5833866 (D.D.C. Oct.

1, 2020). In a subsequent remedial order, the Court ordered the parties to submit a joint status

report addressing compliance with the remedial order and providing proposals for further

proceedings concerning claims that were not resolved on summary judgment. See NAACP Legal

Def. & Educ. Fund, Inc. v. Barr, 2020 WL 6392777 (D.D.C. Nov. 2, 2020). Upon consideration

of [55] the parties’ joint status report, and the entire record herein, it is hereby

        ORDERED that, prior to releasing the Commission’s report and by not later than

November 25, 2020, defendant shall release (1) any records (including transcripts) of the June 16,

2020 meeting between Attorney General William P. Barr and the Commission that are covered by

5 U.S.C. app. 2 § 10(b); and (2) the most recent draft of the Commission’s report covered by

§ 10(b). The parties agree that, given the Court’s conclusion that the Commission is subject to


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FACA, any “records, reports, transcripts, minutes, appendixes, working papers, drafts, studies,

agenda, or other documents which were made available to or prepared for or by each advisory

committee” should be available for public inspection. See 5 U.S.C. app. 2 § 10(b); Joint Status

Report [ECF No. 55] at 5, 9. Records of the June 16 meeting and the most recent draft of the

Commission’s report are easily available and clearly covered by the language of § 10(b)—and

defendants have not argued to the contrary. Thus, requiring the immediate release of these

materials allows plaintiffs the opportunity to use the materials in promptly challenging the report

upon publication without unduly burdening defendants. It is further

       ORDERED that, by not later than December 4, 2020, defendants shall (1) make an initial

public release of other materials covered by § 10(b); (2) provide plaintiff an estimate of the volume

of remaining materials that are subject to disclosure under FACA and a proposed schedule for

releasing those materials; and (3) provide plaintiff a description of any categories of documents,

including working group documents, that defendants possess but contend are not subject to

disclosure under § 10(b); it is further

       ORDERED that, by not later than December 16, 2020, the parties shall submit a joint

status report that details their progress towards completing document release, identifies any areas

of disagreement regarding what documents are covered by § 10(b), and includes proposals for

resolving any areas of dispute; and it is further

       ORDERED that a briefing schedule on defendants’ forthcoming motion to dismiss

plaintiff’s claim that the Commission was inappropriately influenced is set as follows: defendants

shall file their renewed motion to dismiss by not later than November 30, 2020; plaintiff shall

respond to defendants’ renewed motion to dismiss by not later than December 21, 2020; and




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defendants shall file any reply in support of their renewed motion to dismiss by not later than

January 8, 2021. No schedule for discovery will be set at this time.

       SO ORDERED.




                                                                             /s/
                                                                       JOHN D. BATES
                                                              Senior United States District Judge
Dated: November 23, 2020




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